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 1   PAUL B. BEACH, State Bar No. 166265
     pbeach@lbaclaw.com
 2   JIN S. CHOI, State Bar No. 180270
     jchoi@lbaclaw.com
 3   LAWRENCE BEACH ALLEN & CHOI, PC
     100 West Broadway, Suite 1200
 4   Glendale, California 91210-1219
     Telephone No. (818) 545-1925
 5   Facsimile No. (818) 545-1937
 6   Attorneys for Specially Appearing Defendants
     County of Los Angeles, Sheriff Alex Villanueva, and Barbara Ferrer
 7
 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10
11    ADAM BRANDY, an individual;                 )   Case No. 2:20-cv-02874-AB-SK
      et al.,                                     )
12                                                )   Honorable Andre Birotte, Jr.
                     Plaintiffs,                  )
13                                                )
             vs.                                  )   NOTICE OF INTERESTED
14                                                )   PARTIES
      ALEX VILLANUEVA, in his                     )
15    official capacity as Sheriff of Los         )
      Angeles County, California, and in          )
16    his capacity as the Director of             )
      Emergency Operations; et al.,               )
17                                                )
                     Defendants.                  )
18                                                )
19          TO THE HONORABLE COURT, ALL PARTIES, AND TO THEIR
20   COUNSEL OF RECORD:
21          The undersigned, counsel of record for Specially Appearing Defendants
22   County of Los Angeles, Sheriff Alex Villanueva, and Barbara Ferrer herein,
23   certifies that the following listed parties have a direct, pecuniary interest in the
24   outcome of this case. These representations are made to enable the Court to
25   evaluate possible disqualification or recusal:
26   PARTY                                             CONNECTION AND INTEREST
27   Adam Brandy                                                    Plaintiff
28   Jonah Martinez                                                 Plaintiff

                                                 1
     BRANDY\NOTICE OF INTERESTED PARTIES
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 1   Daemion Garro                                          Plaintiff
 2   DG 2A Enterprises Inc., d.b.a. Gun World               Plaintiff
 3   Jason Montes                                           Plaintiff
 4   Weyland-Yutani LLC, d.b.a. Match Grade Gunsmiths       Plaintiff
 5   Alan Kushner                                           Plaintiff
 6   The Target Range                                       Plaintiff
 7   Tom Watt                                               Plaintiff
 8   A Place to Shoot, Inc.                                 Plaintiff
 9   Second Amendment Foundation                            Plaintiff
10   California Gun Rights Foundation                       Plaintiff
11   National Rifle Association of America                  Plaintiff
12   Firearms Policy Coalition, Inc.                        Plaintiff
13   Sheriff Alex Villanueva                                Defendant
14   Gavin Newsom                                           Defendant
15   Sonia Y. Angell                                        Defendant
16   Barbara Ferrer                                         Defendant
17   County of Los Angeles                                  Defendant
18   Eric Garcetti                                          Defendant
19   City of Los Angeles, California                        Defendant
20   Justin Hess                                            Defendant
21   City of Burbank, California                            Defendant
22
23   Dated: April 3, 2020                  LAWRENCE BEACH ALLEN & CHOI, PC
24
25                                         By          /s/ Paul B. Beach           _
26                                               Paul B. Beach
                                                 Attorneys for Specially Appearing
27                                               Defendants County of Los Angeles,
                                                 Sheriff Alex Villanueva, and
28                                               Barbara Ferrer

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     BRANDY\NOTICE OF INTERESTED PARTIES
